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                              IN THE UNITED STATES DISTR1CTCOURT
                               FOR THE SOUTHERN DISTRJCT OF OHIO



  UNITED STATES OF AMERICA,                         )
                                                    )
              Plaintiff,                            )     Case No. 3:2 l-ev-00293-TMR-CHG
                                                    )
              V.                                    )     Judge Thomas M. Rose
                                                    )     Magistrate Judge Caroline II. Gentry
  RAFAEL A. CANIZALES,                              )
                                                    )
              Defendant.                            )


                               STIPULATED FINAL JUDGMENT

         The parties in this case have stipulated to judgment regarding the cause of action in this

 case:

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

         Plaintiff, United States America is entitled to judgment against Defendant Rafael A.

 Canizales, in the amount of $50,499.87, plus statutory additions and interest, and penalties for

 late payment under 31. U.S.C. §3717(e)(2), as of October 21, 2021, until paid.



         IT IS SO ORDERED, this 9th day of March, 2022.




                                                          s/Thomas M. Rose
                                                        Thomas M. Rose
                                                        United States District Judge
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 AGREED TO:

                                     Respectfully Submitted.


 UNITED STATES OF AMERICA                          RAFAEL A. CANIZALES

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